   Case 19-20012-drd13           Doc 48      Filed 05/10/19 Entered 05/10/19 12:35:03                   Desc ODSM
                                          - others motion Page 1 of 1
504 (4/18)
                                    UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF MISSOURI


                                                                                                      FILED
                                                                                                        5/10/19
                                                                                                  Clerk, U.S. Bankruptcy Court
                                                                                                  Western District of Missouri

In     Jennifer Renee Ward − BELOW MED                              )
Re:    Debtor                                                       )
                                                                    ) Case No.: 19−20012−drd13
                                                                    ) Chapter: 13
                                                                    )


                                              ORDER OF DISMISSAL
                                              WITHOUT PREJUDICE


      On the motion before the court and for good cause shown, it is hereby ORDERED that this proceeding be
dismissed without prejudice.

       If the debtor owed filing fees at the time of the dismissal, those fees are immediately due and payable. If filing
fees remain unpaid and the debtor files a new case, an application to pay the filing fee in installments in the new case
shall be denied.

       So ORDERED on 5/10/19 .


                                                                           /s/ Dennis R. Dow
                                                                            ____________________________________
                                                                           UNITED STATES BANKRUPTCY JUDGE
